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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA

UNITED STATE OF AMERICA,             )
                                     )
               Plaintiff,            )
                                     )
       -v-                           )       Case No. 4:06CR3062
                                     )
ALEXANDER PRIETO,                    )
                                     )
               Defendant.            )


       IT IS ORDERED:

       1.      Defendant’s unopposed motion for extension of time (Filing 141) to enter plea is
granted and the change of plea hearing is reset for January 8, 2007, at 1:00 p.m.

        2.     For this defendant, the time between today’s date and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the Speedy Trial
Act. See 18 U.S.C. §3161(h)(1)(I)&(h)(A)(B).

       Dated December 15, 2006.


                                             BY THE COURT


                                             s/David L. Piester
                                             David L. Piester
                                             United States Magistrate Judge
